       2:17-cr-20037-JES-JEH # 111        Page 1 of 11                                        E-FILED
                                                                  Friday, 24 August, 2018 06:06:04 PM
                                                                          Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

             MOTION TO STRIKE STATUTORY AGGRAVATING FACTOR
               OF “ESPECIALLY HEINOUS, CRUEL, OR DEPRAVED
                   MANNER” OF COMMITTING THE OFFENSE

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion to Strike the Statutory Aggravating Factor of committing

the offense in an “especially heinous, cruel or depraved manner” (18 U.S.C. § 3592(c)(6)

(hereafter referred to as (“EHCD”), states as follows:

I.     Procedural History

       On July 12, 2017, Defendant BRENDT A. CHRISTENSEN was charged by

Indictment with one count of kidnapping in violation of 18 U.S.C. § 1201(a)(1). (R. 13) A

Superseding Indictment was filed on October 3, 2017, alleging one count of kidnapping

resulting in death in violation of 18 U.S.C. § 1201(a)(1) and two counts of false

statements in violation of 18 U.S.C. § 1001(a)(2). The Superseding Indictment also

contained a Notice of Special Findings listing four gateway intent factors under 18


                                              1
       2:17-cr-20037-JES-JEH # 111         Page 2 of 11



U.S.C. § 3591(a)(2) and three statutory aggravating factors under 18 U.S.C. § 3592(c):

that Y.Z.’s death occurred during the commission of a kidnapping (Section 3592(c)(1));

that the defendant committed the offense in an especially heinous, cruel or depraved

manner (Section 3592(c)(6)); and that the defendant committed the offense after

substantial planning and premeditation (Section 3592(c)(9)). (R. 26)

       Count 1 of the Superseding Indictment was a death-eligible charge, and on

January 19, 2018, the government filed its Notice of Intent to seek the death penalty

(NOI). (R. 54) The NOI re-alleged the four intent factors as well as the three statutory

aggravating factors contained in the Superseding Indictment, and added six non-

statutory aggravating factors: victim impact evidence, future dangerousness, lack of

remorse, other serious acts of violence, vulnerable victim, and obstruction of justice. (R.

54)

II.    Argument

       In both the Notice of Special Findings of the Superseding Indictment and the

NOI the government has alleged that “The defendant committed the offense in an

especially heinous, cruel, or depraved manner, in that it involved torture or serious

physical abuse of the victim.” 18 U.S.C. § 3592(c)(6). (R. 26, 54) For the reasons stated

below, the aggravating factor should be stricken.

       A. The “EHCD” statutory aggravating factor is unconstitutionally
          vague and overbroad.

          i. Vagueness and Overbreadth Defined


                                             2
       2:17-cr-20037-JES-JEH # 111          Page 3 of 11



   The Constitution cannot tolerate the infliction of a sentence of death “under legal

systems that permit this unique penalty to be...wantonly and... freakishly imposed.”

United States v. Grande, 353 F. Supp. 2d 623, 629 (E.D. Va. 2005) (citing Lewis v. Jeffers, 497

U.S. 764, 774 (1990)). “Consequently, it is essential that a capital sentencing body's

discretion ‘be suitably directed and limited so as to minimize the risk of wholly

arbitrary and capricious action.’ “ Id. To accomplish this goal, the sentencer’s discretion

must be channeled by clear and objective standards that provide specific and detailed

guidance. Id. at 629-30 (citing Godfrey v. Georgia, 446 U.S. 420, 428 (1980)).

       It is the court’s role to ensure that sentencing is conducted in a manner consistent

with the requirements of the Constitution. This includes the screening of aggravating

factors to channel, direct and limit the sentencer's discretion to prevent arbitrary and

capricious imposition of the death penalty. Id. at 630 (citing Arave v. Creech, 507 U.S. 463,

470-71 (1993)). Vague and overbroad aggravating circumstances are impermissible. An

overbroad aggravating factor is one where “the sentencer fairly could conclude that an

aggravating circumstance applies to every defendant eligible for the death penalty.” Id.

(citing Arave, 507 U.S. at 474). A vague aggravating factor is one that lacks a

“commonsense core of meaning . . . that criminal juries should be capable of

understanding. Id. at 631 (citing Tuilaepa v. California, 512 U.S. 967, 973 (1994)). “Claims

of vagueness directed at aggravating circumstances defined in capital punishment

statutes are analyzed under the Eighth Amendment and characteristically assert that

the challenged provision fails adequately to inform juries what they must find to

                                               3
       2:17-cr-20037-JES-JEH # 111          Page 4 of 11



impose the death penalty and as a result leaves them and appellate courts with the kind

of open-ended discretion which was held invalid in Furman v. Georgia, 408 U.S. 238, 92

S.Ct. 2726, 33 L.Ed.2d 346 (1972).” Maynard v. Cartwright, 486 U.S. 356, 362 (1988).

             ii.     “Especially Cruel, Heinous, and Depraved” as Construed

       The “ECHD” statutory aggravating factor, 18 U.S.C. § 3592(c)(6), has a

specialized meaning in capital jurisprudence. This is so because, as common sense

suggests, virtually any murder may be characterized as “heinous, cruel, or

depraved.” Almost 30 years ago, the Supreme Court found unconstitutionally

vague the statutory aggravating factor, used in several states, that the capital

offense was “especially heinous, atrocious or cruel.” Cartwright, 486 U.S. at 364-365.

See also Shell v. Mississippi, 498 U.S. 1, 1 (1990); Clemons v. Mississippi, 494 U.S. 738,

744-747, 754 (1990). The Court explained that, without any narrowing

construction, an “ordinary person could honestly believe that every unjustified,

intentional taking of human life is ‘especially heinous.’” Maynard, 486 U.S. at 364.

       The Federal Death Penalty Act attempts to narrow the application of this

statutory aggravator by providing that it applies only where the offense was

“especially heinous, cruel or depraved in that it involved torture or serious physical

abuse to the victim.” 18 U.S.C. § 3592(c)(4) (emphasis added). See also Eighth Circuit

Criminal Pattern Jury Instructions, Death Penalty - Final Instructions, Inst. 12.07F,

Notes on Use (jury must be unanimous on either torture or serious physical abuse).

As such, the circuits have found that the statutory aggravator is not
                                               4
       2:17-cr-20037-JES-JEH # 111         Page 5 of 11



unconstitutionally vague under the Eighth Amendment as long as the jury is

instructed on the requirement of torture or serious physical abuse. United States v.

Mitchell, 502 F.3d 931, 975-978 (9th Cir. 2007); United States v. Sampson, 486 F.3d 13,

38-39 (1st Cir. 2007); United States v. Bourgeois, 423 F.3d 501, 511 (5th Cir. 2005);

United States v. Paul, 217 F.3d 989, 1001 (8th Cir. 2000); United States v. Webster, 162

F.3d 308, 354 (5th Cir. 1998); United States v. Hall, 152 F.3d 381, 414-415 (5th Cir.

1998); United States v. Jones, 132 F.3d 232, 249-250 (5th Cir. 1998).

       To establish this factor, the government must prove beyond a reasonable

doubt that the defendant intended to inflict torture or serious physical abuse on the

victim, apart from the killing. 1 Leonard B. Sand, et al., Modern Federal Jury

Instructions, Inst. 9A-11 & n.1 (2008). See also United States v. Sampson, 2017 WL

3495703 (D. Mass.) (aggravator supported by evidence that defendant knew he

could have quickly killed a bound, defenseless victim by slitting his throat, but

“instead, he attacked [victim] from the front and inflicted more than a dozen

wounds to the chest and neck, many of which would have been independently

fatal”).

       Several district courts have held or suggested that physical abuse of the

victim after death may not be relied on to establish this aggravator. United States v.

Taveras, 584 F. Supp. 2d 535, 543-546 (E.D.N.Y. 2008) (court instructed jury at outset

of penalty phase that guilt-phase evidence of post-death dismemberment could not

be considered in deciding sentence); United States v. Taveras, 488 F. Supp. 2d 246,
                                              5
      2:17-cr-20037-JES-JEH # 111         Page 6 of 11



251 (E.D.N.Y. 2007); United States v. Pitera, 795 F. Supp. 546, 557-558 (E.D.N.Y.

1992); United States v. Pretlow, 779 F. Supp. 758, 773-774 (D.N.J. 1991).

       The Ninth Circuit has also observed that this view has some force (though it

went on to hold that, if it was error to present such evidence, it was harmless). See

United States v. Mitchell, 502 F.3d 931, 975-978 (9th Cir. 2007). According to the

court, ”[a] good argument can be made that the text on its face does not encompass

post-mortem mutilation, as this factor is narrowed to focus on the manner of

committing the murder, i.e., on specific kinds of suffering inflicted beyond the act

of killing itself—not what happens afterwards.” Id. at 977; see also 1 Leonard B.

Sand, et al., Modern Federal Jury Instructions, Inst. 9A-11 & n.1 (2008) (“we do not

believe that post-mortem abuse to a murder victim’s body constitutes “serious

physical abuse within the meaning of 18 U.S.C § 3592 (c)(6)”)

       This view finds support in the legislative history of this aggravating factor

in the ADAA, 21 U.S.C. § 848(n)(12) (repealed 2006). See H.R. 3777- Criminal

Justice Reform Act of 1987-Section-by-Section Analysis, 133 Cong. Rec.E4973-02,

100th Cong., 1st Sess., 1987 WL 953309 (Dec. 22, 1987) (“This aggravating factor

encompasses situations involving torture, aggravated battery, the deliberate

prolonging of suffering, or the serious physical abuse of the victim before inflicting

death”) (citation omitted); 134 Cong. Rec. S7472-02, (100th Cong., 2d Sess., 1988 WL

171042 (June 9, 1988) (principal sponsor Senator D’Amato says aggravator’s

language was adopted with “limitations in mind,” including that it be limited to
                                             6
       2:17-cr-20037-JES-JEH # 111             Page 7 of 11



cases involving “torture, aggravated battery, the deliberate prolonging of suffering,

or serious physical abuse of the victim before inflicting death”).1

       And while “torture” necessarily implies the victim was conscious to

experience pain, it is unclear how severe the pain needs to be or whether it can be

exclusively psychological rather than physical, to qualify. See United States v.

Sampson, 335 F. Supp. 2d 166, 206-207 (D. Mass. 2004) (discussing different

definitions of torture); 1 Leonard B. Sand, et al., Modern Federal Jury Instructions,

Inst. 9A-11 (2008) (torture includes mental as well as physical abuse); Tenth Circuit

Criminal Pattern Jury Instructions, Inst. 3.08.5 (2005) (torture may include “severe

mental or physical pain”). The Tenth Circuit has rejected claims that mental harm

be “prolonged,” to constitute torture, and that physical abuse “significantly

exceed” that necessary to cause death in order to be “serious.” United States v.

Chanthadara, 230 F.3d 1237, 1261-1263 (10th Cir. 2000). See also United States v.

Sampson, 486 F.3d 13, 36-38 (1st Cir. 2007) (finding no error in denying instruction

defense request for instruction that, if defendant quickly inflicted stab wounds to

kill victim, there would be no support for especially-heinous aggravator).




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  Two circuits have allowed consideration of abuse that occurred after the victim died. See
United States v. Chanthadara, 230 F.3d 1237, 1261-1263 (10th Cir. 2000); United States v. Hall,
152 F.3d 381, 414-415 (5th Cir. 1998); United States v. Jones, 132 F.3d 232, 249 (5th Cir. 1998).
See also Eighth Circuit Criminal Pattern Jury Instructions, Death Penalty - Final Instructions,
Inst. 12.07F (victim need not be conscious or even alive at time of the abuse).

                                                  7
      2:17-cr-20037-JES-JEH # 111          Page 8 of 11



       Chanthadara also held that an instruction on this factor permissibly allowed

jurors to consider the senselessness of the killing and helplessness of the victim.

But see 1 Leonard B. Sand, et al., Modern Federal Jury Instructions, Inst. 9A-11 & n.1

(2008) (“our recommended instruction does not include ‘senselessness of the

killing’ as a relevant factor for the jury’s consideration”).

      Truly, almost any killing may be defined as “senseless.” Thus, it is settled

law that the “EHCD” aggravating factor is unconstitutionally vague unless

accompanied by a proper limiting instruction, and by a narrowing construction.

Otherwise, as noted, a jury could reasonably conclude that any act of murder

would qualify as “heinous.” Courts are ill-equipped to make legislative judgments

and, by virtue of the constitution’s separation of powers doctrine, are barred from

doing so. Sub-elements of capital murder – as is the “ECHD” factor – should not

be so vague that they remain undefined until the jury is charged by the Court with

the proper narrowing instructions.

       In Richard A. Rosen, The Especially Heinous Aggravator in Capital Cases – The

Standardless Standard, 64 N.C. L. Rev. 941 (1986), the author, after surveying the

manner in which this factor – or its several variants – have been construed in several

states, concludes that, “[t]he only thing the cases have in common is that the reviewing

courts have been able to find something disturbing in each case,” and that “[t]he

legislature must provide a standard of sufficient definitiveness to limit the discretion

of juries and courts.” Id. at 989-90.
                                              8
      2:17-cr-20037-JES-JEH # 111         Page 9 of 11



       In Godfrey v. Georgia, 446 U.S. 420, 428 (1980), the plurality opinion emphasized

that aggravating factors must “channel the sentencer’s discretion by ‘clear and

objective standards’ that provide ‘specific and detailed guidance’ and that ‘make

rationally reviewable the process for imposing a sentence of death.’” See Moore v.

Kinney, 320 F.3d 767, 775 (8th Cir. 2003) (“the sentencer cannot have unfettered

discretion, but instead must be guided by an aggravator with a core meaning

presented through a definition capable of comprehension, and considered via a

process not infected with bias or caprice”). See also Roper v. Simmons, 543 U.S. 551, 569

(2005) (noting with respect to prohibitions on executing juveniles and/or the mentally

retarded, “[t]hese rules vindicate the underlying principle that the death penalty is

reserved for a narrow category of crimes and offenders”).

       Thus, in the wake of Ring v. Arizona, 536 U.S. 584 (2002) and Hurst v. Florida, 136

S. Ct. 616 (2016), this Court’s analysis of the “EHCD” aggravator requires, in effect, an

effort to define the precise “sub-elements” of an aggravating factor that is, in and of

itself, an element of the undefined and un-enacted offense of federal capital murder.

And as Ring and Hurst both hold, that effort to define the “sub-elements” of an

aggravating factor is unconstitutional in violation of the Fifth and Eighth

Amendments.

       Because the state of the law concerning the “EHCD” aggravator is in total

disarray, and the terms used therein are unconstitutionally vague and overbroad, this


                                            9
      2:17-cr-20037-JES-JEH # 111          Page 10 of 11



Court should strike the statutory aggravating factor of committing the offense in an

“especially heinous, cruel or depraved manner,” (Title 18 U.S.C. Section 3592(c)(6)),

and bar the Government from offering any evidence or information in support thereof.

       WHEREFORE, Defendant requests that this Court strike the statutory

aggravating factor of ““especially heinous, cruel or depraved manner,” for the reasons

stated herein.

                 Respectfully submitted,

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                                             10
      2:17-cr-20037-JES-JEH # 111        Page 11 of 11



                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

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                                           11
